     Case: 1:20-cv-01158 Document #: 34 Filed: 06/15/20 Page 1 of 1 PageID #:522

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Norix Group, Inc.
                                             Plaintiff,
v.                                                           Case No.: 1:20−cv−01158
                                                             Honorable Gary Feinerman
Correctional Technologies, Inc., et al.
                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 15, 2020:


         MINUTE entry before the Honorable Gary Feinerman: Motion to dismiss for
failure to state a claim [33] is entered and continued. Plaintiff shall respond to the motion
by 7/10/2020; Defendant shall reply by 7/24/2020.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
